
PER CURIAM.
Affirmed. Goldman v. State Farm Fire Gen. Ins. Co., 660 So. 2d 300 (Fla. 4th DCA 1995), rev. denied, 670 So.2d 938 (Fla.1996); Stringer v. Fireman’s Fund Ins. Co., 622 So.2d 145 (Fla. 3d DCA), rev. denied, 630 So.2d 1101 (Fla.1993); see also Pervis v. State Farm Fire &amp; Casualty Co., 901 F.2d 944 (11th Cir.), cert. denied, 498 U.S. 899, 111 S.Ct. 255, 112 L.Ed.2d 213 (1990).
